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                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

JAMES ROBINSON,                                 )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )     Case No. 2:18-cv-01399-JEO
                                                )
CEMEX SOUTHEAST, LLC, et al.,                   )
                                                )
       Defendants.                              )


                              MEMORANDUM OPINION

       This is a personal injury case, filed after Plaintiff James Robinson fell from a

platform on which he was working and sustained physical injuries. (Doc. 1-1 ¶¶

14-15, 17-18).1        Robinson asserts claims for negligence, wantonness, and

subsequent negligence against Defendants CEMEX Southeast, LLC (“CEMEX”)

and Randy Martin. (Id. ¶¶ 24-27). The court2 has before it Defendants’ motions to

dismiss. (Docs. 3, 20). The motions are fully briefed, (docs. 27, 28), and are ripe

for decision. For the reasons that follow, both motions are due to be granted.




1
 Citations herein to “Doc(s). __” are to the document numbers assigned by the clerk, as reflected
on the docket sheet to the pleadings, motions, and other documents in the court file.
2
  The action was originally assigned to the undersigned United States Magistrate Judge pursuant
to 28 U.S.C. § 636(b) and the court’s general order of reference dated January 2, 2015. The
parties have consented to an exercise of plenary jurisdiction by a magistrate judge pursuant to 28
U.S.C. § 636(c) and Fed. R. Civ. P. 73. (Doc. 24).
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I. LEGAL STANDARDS

      Federal Rule of Civil Procedure 12(b)(6) authorizes a motion to dismiss all

or some of the claims in a complaint on the ground that its allegations fail to state a

claim upon which relief can be granted. That provision is read, in turn, in light of

Federal Rule of Civil Procedure 8(a)(2) which requires only “a short and plain

statement of the claim showing that the pleader is entitled to relief,” in order to

“give the defendant fair notice of what the . . . claim is and the grounds upon which

it rests,” Conley v. Gibson, 355 U.S. 41, 47 (1957). The court is required to accept

the well-pled factual allegations of the complaint as true and give the plaintiff the

benefit of all reasonable factual inferences.         See Hazewood v. Foundation

Financial Group, LLC, 551 F.3d 1223, 1224 (11th Cir. 2008). However, “courts

‘are not bound to accept as true a legal conclusion couched as a factual

allegation.’” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting

Papasan v. Allain, 478 U.S. 265, 286 (1986)); see also Ashcroft v. Iqbal, 556 U.S.

662, 678-79 (2009) (“Rule 8 marks a notable and generous departure from the

hyper-technical, code-pleading regime of a prior era, but it does not unlock the

doors of discovery for a plaintiff armed with nothing more than conclusions.”).

Nor is it proper to assume that the plaintiff can prove facts it has not alleged or that

the defendants have violated the law in ways that have not been alleged. Twombly,




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550 U.S. at 563 n.8 (citing Associated Gen. Contractors of Cal., Inc. v. Carpenters,

459 U.S. 519, 526 (1983)).

II. BACKGROUND

         A. Allegations in the Complaint

         Plaintiff alleges he fell several feet from an elevated work platform at a

CEMEX facility and suffered severe injuries as a result. (Doc. 1-1 ¶ 15). The

platform “was constructed[,] operated and maintained by the Defendants.” (Id. ¶

19).     The platform where Robinson was working did not have “proper guards or

devices . . . to prevent the Plaintiff or any other person from suffering a fall . . . ”

and causing injuries. (Id. ¶ 17). Defendant Martin was the supervisor or project

manager for CEMEX when Plaintiff fell from the platform. (Id. ¶ 12). Robinson

contends both Defendants had “an obligation to properly guard the platform and to

have guardrails and other protective guarding systems or devices to prevent” a fall

from the platform. (Id. ¶¶ 15-16). They also had, according to the complaint, an

“obligation and duty” to provide Robinson with a safe place to work.              (Id.).

Robinson contends both Defendants breached their duties “by [their] negligence

and wantonness which caused the serious permanent injuries to the Plaintiff.”

(Id.).

         At the time of the accident, Robinson “was working as an employee of a

temporary agency Labor Finders.” (Id. ¶ 8). Robinson “never considered himself

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an employee of CEMEX” and “was told on numerous occasions by CEMEX

personnel that he was not an employee of CEMEX.” (Id. ¶¶ 9, 10). He was,

however, “performing a function of Defendant CEMEX as a result of his contract

of employment with Labor Finders” when he fell from the platform. (Id. ¶ 14).

Additionally, Robinson alleges “[a]t all times wherein Plaintiff was the employee

of Labor Finders who contracted with CEMEX for the contract labor of the

Plaintiff.” (Id. ¶ 20).

       B. Procedural History

       On July 27, 2018, Plaintiff filed a complaint in the Circuit Court of Jefferson

County, Alabama, against CEMEX and Randy Martin, as well as fictitious

defendants.3 (Doc. 1-1 at 5-12). On August 30, 2018, Defendant CEMEX filed a

notice of removal based on diversity jurisdiction pursuant to 28 U.S.C. §§ 1332,

1441, and 1446, (doc. 1), as well as a motion to dismiss. (Doc. 3). Defendant

Martin consented to removal and filed a separate motion to dismiss. (Doc. 1-3 ¶ 6;

Docs. 20, 22). On September 10, 2018, Plaintiff filed a motion to remand pursuant


3
  This is not the first complaint filed by Plaintiff with regard to the incident at issue. On March
12, 2018, Plaintiff filed a substantively identical complaint against CEMEX in the Circuit Court
of Jefferson County, Alabama, asserting the same claims and damages as the instant complaint.
(Doc. 1-4). On April 13, 2018, CEMEX removed the action to this court based on diversity
jurisdiction and filed a motion to dismiss. (See 2:18-cv-00590-JEO, Docs. 1, 2). On April 20,
2018, Plaintiff voluntarily dismissed the action pursuant to Federal Rule of Civil Procedure
41(a)(1)(A)(i). (Id. at Doc. 6). Approximately two months later, Plaintiff filed the instant
complaint. (See Doc. 1-1 at 3). The instant complaint is substantively identical to Plaintiff’s
initial complaint except Plaintiff added Randy Martin as a defendant and asserted that he is a
citizen of Alabama. (Compare Doc. 1-4 with Doc. 1-1).
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to 28 U.S.C. § 1447(c). (Doc. 7). Plaintiff contended the court does not have

diversity jurisdiction over his complaint because CEMEX has failed to meet its

burden of proof as it relates to the amount in controversy requirement. (Id.). The

court denied the motion to remand on October 18, 2018. (Doc. 26). The motions

to dismiss (docs. 3, 20) remain and are addressed below.

III. DISCUSSION

      A. CEMEX’s Motion to Dismiss

      CEMEX argues that Plaintiff’s claims against it are barred by the Alabama

Workers’ Compensation Act because it was a “special employer” of Plaintiff.

(Doc. 3 at 4-11). “Alabama law, like that of other states, stipulates that when an

employee covered by the [Alabama Workers’ Compensation] Act suffers from an

injury in an on-the-job accident, benefits under the Act are the exclusive remedy

available against the employer.” Tweedy v. Tennessee Valley Authority, 882 F.2d

477, 479 (11th Cir. 1989) (citing Steagall v. Sloss-Sheffield Steel & Iron Co., 205

Ala. 100, 101, 87 So. 787, 788 (1920); Ala. Code § 25-5-53 (1975)). Specifically,

the Alabama Workers’ Compensation Act includes an exclusive remedy provision,

which provides that no employer “shall be held civilly liable for personal injury . . .

to the employer’s employee . . . whose injury . . . is due to an accident . . . which

. . . originates in the employment.” Ala. Code § 25-5-53 (1975). Alabama law is

well established that this “exclusive remedy provision extends to ‘special

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employers,’ which have been described as ‘individuals or businesses who, for

practical purposes, may be considered primary or co-employers of the injured

employee.’” Gaut v. Medrano, 630 So. 2d 362, 364 (Ala. 1993) (quoting Rhodes

v. Alabama Power Co., 599 So. 2d 27, 28 (Ala. 1992)).

      The Alabama Supreme Court has adopted the following test to determine

whether an employer qualifies as a “special employer”:

      When a general employer lends an employee to a special employer,
      the special employer becomes liable for workmen’s compensation
      only if

      (a) the employee has made a contract of hire, express or implied, with
          the special employer;

      (b) the work being done is essentially that of the special employer;
          and[]

      (c) the special employer has the right to control the details of the
         work.

Terry v. Read Steel Products, 430 So. 2d 862, 865 (Ala. 1983) (internal quotations

and citation omitted). The second and third prongs of this test are not in dispute.

In response to the motions to dismiss, Plaintiff “concede[d] that [CEMEX] had the

right to control the details of the work and that the work being done was essentially

that of [CEMEX].” (Doc. 27 at 4). The first prong, whether Plaintiff made a

contract of hire with CEMEX, remains at issue. It also is “the most important

criterion to be scrutinized.” Hicks v. Alabama Power Co., 623 So. 2d 1050, 1053

(Ala. 1993). CEMEX does not argue that Plaintiff entered into an express contract
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of hire with it. The sole question for the court, therefore, is whether an implied

contract of hire existed between Plaintiff and CEMEX. If an implied contract of

hire existed between Plaintiff and CEMEX, then CEMEX was Plaintiff’s “special

employer” and the exclusive-remedy provisions of the Workers’ Compensation

Act extend to CEMEX. See Ex Parte Tenax Corp., 228 So. 3d 387, 393 (Ala.

2017).

       Plaintiff argues that “[t]here is no substantial evidence that CEMEX had an

implied contract with [him] and, to the contrary, [he] testified via [a]ffidavit that he

had no implied contract with CEMEX.”4 (Doc. 27 at 6). The court disagrees.

         The Alabama Supreme Court considers a number of factors to be

significant in the analysis of whether a worker impliedly consented to a contract of

hire. In particular, Alabama courts consider (1) whether the general employer is,

in reality, acting as a labor broker or a temporary employment agency for the

special employer, see Hicks, 623 So. 2d at 1055 (finding a question of fact existed

as to whether the defendant was a special employer); Key v. Maytag Corp., 671 So.

2d 96, 100 (“a special employer-employee relationship exists when the general

employer is an employment agency or employment service which furnishes


4
  Plaintiff asserts in the affidavit that he had a written agreement for employment with Labor
Finders, but he did not have any written or implied agreement with CEMEX. (Doc 27 ¶ 2). He
also states he never considered himself to be a CEMEX employee. To the contrary, he asked
about employment with CEMEX and was told that the company was not hiring. (Id. ¶ 4). He
did not receive any benefits from CEMEX and he was paid with checks issued by Labor Finders.
(Id. ¶¶ 4-5).
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employees under contract. . . .”); (2) whether the special employer provided the

workers’ compensation insurance, Gaut, 630 So. 2d at 363, 368 (holding that

alleged special employer, which did not provide the employee’s workers’

compensation insurance, was not entitled to a summary judgment); Pinson v.

Alabama Power Co., 557 So. 2d 1236, 1237 (Ala. 1990); and (3) “whether the

employment with the borrowing employer was of such duration that the employee

could be reasonably presumed to have evaluated and acquiesced in the risks of his

employment” G.UB.MK Constructors v. Garner, 44 So. 3d 479, 487 (Ala. 2010)

(quoting Gaut, 630 So. 2d at 367); see also Rast Constr., Inc. v. Peters, 689 So. 2d

781, 784 (Ala. 1996)). The main focus is on what the employee intended in

providing services for the alleged special employer. See Garner, 44 So. 3d at 487;

Tenax, 228 So. 3d at 392. A worker employed by a general employer that is

“unambiguously [a] temporary employment placement agenc[y] . . . necessarily

agrees to a contract of hire with the special employer.” Garner, 44 So. 3d at 488.

      The allegations in the complaint clearly establish that Plaintiff entered into

an implied contract for hire with CEMEX. Specifically, the complaint provides

that Plaintiff “was working as an employee of a temporary agency Labor Finders”

at the time of the incident. (Doc. 1-1 ¶ 8). It also alleges Plaintiff “was performing

work assignments at CEMEX as a result of the contract between CEMEX and

Labor Finders” and “as a result of his contract of employment with Labor Finders.”

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(Id. ¶¶ 4, 14). Additionally, the complaint alleges Plaintiff provided contract labor

to CEMEX. (Id. ¶ 20) (“At all times wherein Plaintiff was the employee of Labor

Finders who contracted with CEMEX for the contract labor of Plaintiff.”).

      Alabama courts repeatedly have found that a special employer-employee

relationship exists under such circumstances. See Hicks, 623 So. 2d at 1054-55;

Marlow v. Mid–South Tool Co., 535 So. 2d 120 (Ala. 1988); Bechtel v. Crown

Central Petroleum Corp., 495 So. 2d 1052 (Ala. 1986); Pettaway v. Mobile Paint

Mfg. Co., 467 So. 2d 228 (Ala. 1985); Terry, 430 So. 2d at 865. In Hicks, the

Alabama Supreme Court expounded on its previous holdings concerning the

existence of a special employer-employee relationship when the general employer

is an employment agency or service.           It specifically found that in the just

mentioned cases – Terry, Pettaway, Marlow and Betcthel – each employee had an

implied contract with the special employer:

      In these cases, the general employer was nothing more than the
      bargaining agent or employment agent for the plaintiffs. When those
      plaintiffs contacted [the general employers], it was not for the purpose
      of entering into employment with those companies to do the work of
      those companies; rather, the plaintiffs intended for the general
      employers to “market” them to secure employment with another,
      special employer. Once those plaintiffs were presented by the
      employment services to the special employers, those plaintiffs then
      entered into a contract of hire with those special employers.




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Hicks, 623 So. 2d at 1054.5 The allegations in the instant complaint fall squarely

within this analysis.6

       Based on the foregoing, the court finds that the allegations contained in the

complaint clearly establish that Plaintiff was a worker employed by a general

employer that was unambiguously a temporary employment agency. See Garner,

44 So. 3d at 488. As such, Plaintiff necessarily agreed to an implied contract of

hire with CEMEX. The court, therefore, concludes the allegations in the complaint

establish that CEMEX was a “special employer” and it is entitled to the same

protections under the Alabama Workers’ Compensation Act as the general

employer. CEMEX’s motion to dismiss is due to be granted.




5
 The court recognizes that each of these cases was decided on a motion for summary judgment
and not on a motion to dismiss such as the one before this court. However, the principles
articulated in these cases are applicable to Plaintiff’s allegations in the present complaint.
6
 The court rejects Plaintiff’s argument that the allegations are more akin to an independent
contract relationship like the one in Gaut, 630 So. 2d at 368. In Gaut, the Alabama Supreme
Court found there was a question of fact as to whether the general employer, Industrial, was a
temporary employment agency or an independent contractor. Id. Some of the controlling factors
were: (1) the employment application identified Industrial as a “maintenance company” and not
an employment agency; (2) Industrial had its own clearly identified area inside the plant; (3)
Industrial provided the plaintiff with all the tools he needed to do his work; (4) Industrial had
supervisors on site who coordinated the scheduling for the employees; and (5) plaintiff did not
have any knowledge of the agreement between Industrial and the defendant. Id. at 363-68.
Neither these facts nor similar allegations are articulated in the complaint in the present case. To
the contrary, as noted already, the complaint specifically identifies Labor Finders as a
“temporary agency.” (Doc. 1-1 ¶ 8). Additionally, the complaint alleges Plaintiff “was
performing work assignments at CEMEX as a result of the contract between CEMEX and Labor
Finders.” (Id. ¶ 4). Plaintiff understood he “was performing a function for . . . CEMEX as a
result of his contract of employment with Labor Finders,” (id. ¶ 14), unlike the plaintiff in Gaut
who believed he was performing maintenance work for Independent.
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         B. Martin’s Motion to Dismiss

         The compliant also states the same claims for negligence, wantonness and

subsequent negligence against Martin as it does against CEMEX. Martin was an

employee of CEMEX at the time of the accidence. (Doc. 1-1 ¶¶ 11, 12). Because

the court concludes that Plaintiff had an implied contract with CEMEX, Martin and

Plaintiff were both employees of CEMEX for purposes of the motion to dismiss.

         As    stated    above,     the   Alabama       Workers’       Compensation        Act   is

“the exclusive remedy when an employee is injured in an accident proximately

resulting from, and that occurred while the employee was engaged in, the actual

performance of the duties of his or her employment.” Ex parte Shelby County

Health Care Auth., 850 So. 2d 332, 338 (Ala. 2002). As related to co-employees,

the Act provides for recovery for actions from “willful conduct”7 that results in, or



7
    Alabama Code § 25-5-11(c) defines “willful conduct” as any of the following:

         (1) A purpose or intent or design to injure another; and if a person, with
         knowledge of the danger or peril to another, consciously pursues a course of
         conduct with a design, intent, and purpose of inflicting injury, then he or she is
         guilty of “willful conduct.”

         (2) The willful and intentional removal from a machine of a safety guard or safety
         device provided by the manufacturer of the machine with knowledge that injury
         or death would likely or probably result from the removal; provided, however,
         that removal of a guard or device shall not be willful conduct unless the removal
         did, in fact, increase the danger in the use of the machine and was not done for the
         purpose of repair of the machine or was not part of an improvement or
         modification of the machine which rendered the safety device unnecessary or
         ineffective.

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proximately causes, injury or death. Ala. Code § 25-5-11. Alabama law prohibits

actions against co-employees based on negligence or wantonness. See Powell v.

U.S. Fidelity & Guar. Co., 646 So. 2d 637, 638 (Ala. 1994). Simply put, the

exclusivity provision of the Workers’ Compensation Act extends complete

immunity to co-employees from civil liability for all causes of action except those

based on willful conduct. See id.; see also Jones v. Lowe, 611 So. 2d 345, 346

(Ala. 1992).

      Plaintiff’s complaint does not allege any claims based on willful conduct.

Rather, the claims asserted against Martin are for negligence and wantonness and

subsequent negligence. (Doc. 1-1 ¶¶ 24-27). Additionally, the complaint does not

allege any facts that could potentially constitute willful conduct within the meaning

of Alabama Code § 25-5-11. As such, Plaintiff’s claims against Martin are due to

be dismissed.8




      (3) The intoxication of another employee of the employer if the conduct of that
      employee has wrongfully and proximately caused injury or death to the plaintiff
      or plaintiff's decedent, but no employee shall be guilty of willful conduct on
      account of the intoxication of another employee or another person.

      (4) Willful and intentional violation of a specific written safety rule of the
      employer after written notice to the violating employee by another employee who,
      within six months after the date of receipt of the written notice, suffers injury
      resulting in death or permanent total disability as a proximate result of the willful
      and intentional violation. . . .
8
 Because of this conclusion, the court does not need to address whether Martin was properly
served with a copy of the summons and complaint.
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IV. CONCLUSION

      Based on the foregoing, both motions to dismiss are due to be granted. A

separate order will be entered.

      DATED, this 28th day of November, 2018.



                                   _________________________________
                                   JOHN E. OTT
                                   Chief United States Magistrate Judge




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